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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
        v.
                                                   Criminal Action No. 21-0022 (CKK)
 CHRISTOPHER RAY GRIDER,
             Defendant


                                        ORDER
                                    (February 9, 2022)

       For the reasons discussed in the accompanying Memorandum Opinion, it is hereby

       ORDERED, that Defendant’s [69] Amended Motion to Dismiss Count Four of the
Indictment is DENIED.

       SO ORDERED.


Dated: February 9, 2022                               /s/
                                                 COLLEEN KOLLAR-KOTELLY
                                                 United States District Judge
